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 1                          UNITED STATES DISTRICT COURT FOR THE
 2                             CENTRAL DISTRICT OF CALIFORNIA
                                      EASTERN DIVISION
 3
     MICHAEL E. BOGART AND                                §         CIVIL ACTION NO:
 4
     ANNA BOGART                                          §
 5                                                        §         5:20-cv-00300
                     Plaintiffs                           §
 6   v.                                                   §
 7                                                        §
     JAYCO, INC.                                          §
 8                                                        §
                     Defendant                            §         JURY TRIAL REQUESTED
 9
10                                              COMPLAINT

11                                                   I.       Parties
12
             1.      Plaintiffs, MICHAEL E. BOGART and ANNA BOGART, now and have been at all
13
     times material hereto citizens of the El Centro, State of California.
14
15           2.      Defendant, JAYCO, INC., hereinafter “JAYCO,”is an Indiana corporation authorized

16   to do and doing business in the State of California with its principal place of business located in
17
     Elkhart, Indiana and is a warrantor of the recreational vehicle that Plaintiffs purchased and is a
18
     merchant in goods of the kind involved in this case.
19
20                   JAYCO's agent for service of process is CT Corporation System, 150 West Market
21   Street, Suite 800, Indianapolis, IN, 46204.
22
                                               II.        Jurisdiction
23
             3.      This court has jurisdiction over the lawsuit under 28 U.S.C. §1332(a)(1) because
24
25   Plaintiffs and Defendant are citizens of different states and the amount in controversy exceeds
26   $75,000, excluding interest and costs. The total cost of the subject vehicle to the Plaintiffs including
27
     finance charges to date, out of pocket expenses, lost wages, loss of use damages, non-pecuniary
28

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 1   damages, and attorney fees will be over $150,000.00.
 2
            This court also has supplemental jurisdiction under 28 USC § 1367 over Plaintiff’s state law
 3
     claims because said claims are so related to the claims within the Court’s original jurisdiction that
 4
 5   they form part of the same case or controversy under Article 3 of the United States Constitution.

 6                                                 III.    Venue
 7
            4.         Venue is proper in this district under 28 U.S.C. §1391(a)(3) because the Plaintiffs
 8
     purchased the subject vehicle in Riverside County, California and the Defendant are subject to
 9
10   personal jurisdiction in this district and there is no other district where the suit may be brought.

11                                        IV.     Conditions Precedent
12
            5.         All conditions precedents have been performed or have occurred.
13
                                                    V.     Facts
14
15                                           A.    The Transaction
16          6.         On January 30, 2018, Plaintiffs purchased a new 2018 JAYCO EAGLE 317 RLOK
17
     bearing VIN 1UJCJ0BT2J1WK0328, hereinafter "JAYCO EAGLE," from Richardson's RV Centers
18
     in Riverside County, California. The JAYCO EAGLE was purchased primarily for Plaintiffs’
19
20   personal use. The sales contract was presented to Plaintiffs at the dealership and was executed at
21   the dealership.
22
            7.          The sales price of the JAYCO EAGLE was $64,35763. Plaintiffs made a down
23
     payment in the amount of $6,500.00. . The total cost of the vehicle to Plaintiff including finance
24
25   charges will be over $100,000.00. Civil or Punitive penalties for breach of warranty are recoverable
26   under the Warranty Act, if they are recoverable for breach of warranty under the applicable state law.
27
     See Hughes v. Segal Enterprises, Inc., 627 F. Supp. 1231, 1238 (W.D. Ark. 1986); Chariton Vet
28

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 1   Supply, Inc. v. Moberly Motors Co., 2:08CV47MLM, 2009 WL 1011500 (E.D. Mo. Apr. 15, 2009).
 2
                                            B.    Implied Warranties
 3
            8.      As a result of the sale of the JAYCO EAGLE by Defendant to Plaintiffs, an implied
 4
 5   warranty of merchantability arose in the transaction which included the guarantee that the JAYCO

 6   EAGLE would pass without objection in the trade under the contract description; and that the
 7
     JAYCO EAGLE was fit for the ordinary purpose for which such motor vehicles are purchased.
 8
            9.      Subsequent to the sale, an implied warranty arose in connection with the repairs
 9
10   performed by the Defendant. Specifically, the Defendant impliedly warranted that the repair work

11   had been performed in a good and workmanlike manner.
12
                                       C.        Express Warranties
13
            10.     In addition to the implied warranties that arose in the transaction, certain
14
15   representations and express warranties were made, including, that any malfunction in the JAYCO

16   EAGLE occurring during a specified warranty period resulting from defects in material or
17
     workmanship would be repaired, and that repair work on the JAYCO EAGLE had, in fact, repaired
18
     the defects.
19
20          11.     Plaintiffs’s purchase of the JAYCO EAGLE were accompanied by express warranties
21   offered by Defendant, JAYCO, and extending to Plaintiffs. These warranties were part of the basis
22
     of the bargain of Plaintiffs’s contract for purchase of the JAYCO EAGLE.
23
            12.     The basic warranty covered any repairs or replacements needed during the warranty
24
25   period due to defects in factory materials or workmanship. Any required adjustments would also be
26   made during the basic coverage period. All warranty repairs and adjustments, including parts and
27
     labor, were to be made at no charge. Additional warranties were set forth in the JAYCO‘s warranty
28

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 1   booklet and owners manual.
 2
                                          D.    Actionable Conduct
 3
               13.   In fact, when delivered, the JAYCO EAGLE was defective in materials and
 4
 5   workmanship, with such defects being discovered within the warranty periods. Many defective

 6   conditions have occurred since purchase, including, but not limited to, all the defects listed in repair
 7
     orders:
 8
                     1.      Richardson’s R.V. Centers, Inc.         Work Order #592424;
 9
10                   2.      Richardson’s R.V. Centers, Inc.         Work Order #592713;

11                   3.      Richardson’s R.V. Centers, Inc.         Work Order #592424;
12
                     4.      Richardson’s R.V. Centers, Inc.         Work Order #595505;
13
                     5.      Richardson’s R.V. Centers, Inc.         Work Order #596112;
14
15                   6.      Richardson’s R.V. Centers, Inc.         Work Order #596763; and
16                   7.      Richardson’s R.V. Centers, Inc.         Work Order #596925.
17
               14.   In fact, Plaintiff’s JAYCO EAGLE has been out of service over 300 days as of
18
     February 2020.
19
20             15.   Since purchase, Plaintiffs have returned their JAYCO EAGLE to Defendant and/or
21   Richardson’s R.V. Centers, Inc., an authorized JAYCO warranty service dealers, for repairs on
22
     numerous occasions. Despite this prolonged period during which Defendant was given the
23
24   opportunity to repair the JAYCO EAGLE, the more significant and dangerous conditions were not

25   repaired. Defendant failed to repair the vehicle so as to bring it into conformity with the warranties
26   set forth herein. From the date of its purchase, the JAYCO EAGLE continues to this day to exhibit
27
     some or all of the non-conformities described herein.
28

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 1          16.      The defects experienced by Plaintiffs with the JAYCO EAGLE substantially
 2
     impaired its use, value and safety.
 3
            17.      Plaintiffs directly notified the Defendant of the defective conditions of the JAYCO
 4
 5   EAGLE on numerous occasions. Plaintiffs notified Defendant that they wanted a rescission of the

 6   sale of the JAYCO EAGLE but Defendant has failed and refused to buy back Plaintiffs’ defective
 7
     JAYCO EAGLE.
 8
                                            VI.    Causes of Action
 9
10   COUNT 1: VIOLATIONS OF THE SONG-BEVERLY CONSUMER WARRANTY ACT,
                       CIVIL CODE SECTION 1790 ET SEQ.
11
12          18.      Plaintiffs re-allege and incorporate by reference as though fully set forth herein each

13   and every allegation contained in the preceding paragraphs.
14
            19.      The vehicle is a consumer good as defined under the Song-Beverly Consumer
15
     Warranty Act.
16
17          20.      Plaintiffs are a "purchaser" of consumer goods as defined under the Song-Beverly

18   Consumer Warranty Act.
19
            21.      Defendant, JAYCO, is a "manufacturer" and "distributor" as defined under the
20
     Song-Beverly Consumer Warranty Act.
21
22          22.      The sale of the vehicle to Plaintiffs were accompanied by an express written warranty.

23          23.      The serious nonconformities have manifested themselves within the applicable
24
     express warranty period. The nonconformities substantially impair the use, value and or safety of the
25
     vehicle and or can cause serious bodily injury or death.
26
27          24.      Plaintiffs brought the vehicle to , an authorized repair facility, for repairs on numerous

28

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 1   occasions in attempts to have the existing express warranties satisfied.
 2
            25.      Defendant has not repaired the nonconformities after a reasonable number of attempts
 3
     and, as such, have failed to comply with and have breached all applicable warranty requirements.
 4
 5          26.      Further, the sale of the vehicle to Plaintiffs were accompanied by implied warranties

 6   that the vehicle was merchantable and fit for a particular use.
 7
            27.      Defendant has breached the implied warranties of merchantability and fitness for a
 8
     particular use because the vehicle when sold would not pass without objection in the trade.
 9
10          28.      Despite their breach of the express and implied warranties, Defendant has refused

11   Plaintiffs's demand for a refund or replacement.
12
            29.      By failure of Defendant to remedy the defects as alleged above, or to issue a refund
13
     or replacement, Defendant are in breach of their obligations under the Song-Beverly Consumer
14
15   Warranty Act.

16          30.      Defendant' continuing breach of their obligations as set forth herein is willful pursuant
17
     to the Song-Beverly Consumer Warranty Act and as such, Defendant and each of them are liable to
18
     Plaintiffs for civil penalties in an amount as set forth below.
19
20          31.      Plaintiffs are entitled to recover a sum equal to the aggregate amount of costs and
21   expenses, including attorney's fees, if Plaintiffs prevails. As a proximate result of Defendant'
22
     misconduct as alleged herein, and in an effort to protect his rights and to enforce the terms of the
23
     agreement as more particularly set forth above, it has become necessary for Plaintiffs to employ the
24
25   legal services of Richard C. Dalton. Plaintiffs have incurred and continue to incur legal fees, costs
26   and expenses in connection therewith.
27
28

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 1                       COUNT 3:         BREACH OF EXPRESS WARRANTIES
 2
            32.     Plaintiffs re-allege and incorporate by reference as though fully set forth herein each
 3
     and every allegation contained in the preceding paragraphs.
 4
 5          33.     The Defendant’ advertisements and statements in written promotional and other

 6   materials contained broad claims amounting to a warranty that Plaintiffs’s JAYCO EAGLE or those
 7
     similarly situated were free from inherent risk of failure or latent defects. In addition, the Defendant
 8
     issued an expressed written warranty which covered the JAYCO EAGLE and warranted that the
 9
10   JAYCO EAGLE was free of defects in materials and work quality at the time of delivery.

11          34.     As alleged above, the Defendant breached its warranties by offering for sale, and
12
     selling as safe to Plaintiffs, an JAYCO EAGLE that was latently defective, unsafe, and likely to
13
     cause economic loss to Plaintiffs.
14
15          35.     In breach of the foregoing warranties, the Defendant has failed to correct said defects.

16          36.     The damages Plaintiffs have suffered are a direct and proximate result of Defendant’
17
     actions in this matter include, but are not limited to, diminution in value of the vehicle; costs of
18
     repairs; expenses associated with returning the vehicle for repeated repair attempts; loss of wages;
19
20   loss of use; damages; and attorney fees.
21                       COUNT 4:         BREACH OF IMPLIED WARRANTIES
22
            37.     Plaintiffs re-allege and incorporate herein by reference each and every allegation set
23
     forth in the preceding paragraphs.
24
25          38.     The Defendant impliedly warranted that Plaintiffs’ JAYCO EAGLE, which it
26   designed, manufactured, and sold, were merchantable and fit and safe for their ordinary use, not
27
     otherwise injurious to consumers, and would come with adequate safety warnings.
28

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 1          39.     Any purported limitation of the duration of the implied warranties contained in the
 2
     written warranties given by Defendant is unreasonable and unconscionable and void under the
 3
     principles of estoppel, because Defendant knew the defects existed and might not be discovered, if
 4
 5   at all, until the JAYCO EAGLE had been driven for a period longer than the period of the written

 6   warranty, and Defendant willfully withheld information about the defects from Plaintiffs.
 7
            40.     Because of the defects, Plaintiffs’s JAYCO EAGLE is unsafe and unfit for use and
 8
     has caused economic loss to the Plaintiffs. Therefore, the Defendant breached the implied warranty
 9
10   of merchantability.

11          41.     The damages Plaintiffs have suffered are a direct and proximate result of Defendant’
12
     actions in this matter include, but are not limited to, diminution in value of the vehicle; costs of
13
     repairs; expenses associated with returning the vehicle for repeated repair attempts; loss of wages;
14
15   loss of use; damages; and attorney fees.

16          COUNT 5:        NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
17
            42.     The Defendant had a duty to Plaintiffs to provide a product reasonably safe in design
18
     and manufacture, warn of dangerous defects, disclose adverse material facts when making
19
20   representations of fact to Plaintiffs and correct products which are defective.
21          43.     The Defendant breached their duty of reasonably care and duty to disclose material
22
     adverse facts to Plaintiffs by the following acts and omissions:
23
                    a.      Failure to design and manufacture a JAYCO EAGLE that did not harbor the
24
                            defects alleged herein;
25
                    b.      Failure to notify Plaintiffs of the dangerous and defective condition of the
26                          JAYCO EAGLE when Defendant knew or should have known of the
27                          dangerous and defective condition;

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 1                  c.      Failure to fulfill its duty to disclose the material adverse facts as set forth
 2                          above and otherwise failing to exercise due care under the circumstances; and

 3                  d.      Failure to repair the JAYCO EAGLE in accordance with the express and
                            implied warranties.
 4
 5          44.     The damages Plaintiffs have suffered are a direct and proximate result of Defendant’

 6   actions in this matter include, but are not limited to, diminution in value of the vehicle; costs of
 7
     repairs; expenses associated with returning the vehicle for repeated repair attempts; loss of wages;
 8
     loss of use; damages; and attorney fees.
 9
10                              COUNT 6:        BREACH OF CONTRACT

11          45.     Plaintiffs re-allege and incorporate herein by reference each and every allegation set
12
     forth in the preceding paragraphs.
13
            46.     Plaintiffs would show that the actions and/or omissions of Defendant described herein
14
15   above constitute breach of contract, which proximately caused the direct and consequential damages

16   to Plaintiffs described herein below, and for which Plaintiffs hereby sues.
17
            47.     The damages Plaintiffs have suffered are a direct and proximate result of Defendant’
18
     actions in this matter include, but are not limited to, diminution in value of the vehicle; costs of
19
20
21   repairs; expenses associated with returning the vehicle for repeated repair attempts; loss of wages;
22
     loss of use; damages; and attorney fees.
23
                                   COUNT 7:       NEGLIGENT REPAIR
24
25          48.     Plaintiffs re-allege and incorporate herein by reference each and every allegation set
26   forth in the preceding paragraphs.
27
            49.     On numerous occasions, Plaintiffs delivered the JAYCO EAGLE to JAYCO and for
28

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 1    repairs of the defective conditions covered under the express and implied warranties set forth

 2    hereinabove.
 3
             50.     On each occasion that Plaintiffs returned the JAYCO EAGLE for repairs, Plaintiffs
 4
      are informed and believe, and thereupon allege, that Defendant, JAYCO and , attempted repairs of
 5
 6    the JAYCO EAGLE pursuant to their obligations under the express and implied warranties.
 7    Defendant owed a duty of care to Plaintiffs to perform repairs on the JAYCO EAGLE in a good and
 8
      workmanlike manner within a reasonable time. These Defendant breached this duty.
 9
             51.     Defendant' attempted repairs of Plaintiffs' JAYCO EAGLE were done so negligently,
10
11    carelessly, and recklessly as to substantially impair the JAYCO EAGLE‘s use, value, and safety in
12    its operation and use. At no repair attempt was Plaintiffs's JAYCO EAGLE fully and completely
13
      repaired by Defendant, nor were many of the conditions of which Plaintiffs complained fixed or
14
      significantly improved by Defendant' attempts at repair. Nonetheless, each time Plaintiffs picked
15
16    up the vehicle after Defendant' repair attempts, Defendant represented to Plaintiffs that the repairs
17    were complete, and Plaintiffs relied thereon.
18
             52.     As a direct and proximate result of defendant's negligent failure to repair the JAYCO
19
20    EAGLE within a reasonable time or within a reasonable number of attempts, Plaintiffs were forced

21    to drive a defective and dangerous JAYCO EAGLE in conducting their daily activities. As a further
22    direct and proximate result of Defendant' failure to repair the JAYCO EAGLE in a timely and
23
      workmanlike fashion, Plaintiffs were forced repeatedly to take the JAYCO EAGLE in for further
24
25    repair attempts and to leave the JAYCO EAGLE for long periods of time at great inconvenience to

26    themselves, and Plaintiffs sustained actual damages.
27
             53.     The damages Plaintiffs have suffered are a direct and proximate result of Defendant’
28

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 1    actions in this matter include, but are not limited to, diminution in value of the vehicle; costs of

 2    repairs; expenses associated with returning the vehicle for repeated repair attempts; loss of wages;
 3
      loss of use; damages; attorney fees and damages to Plaintiffs' health and well-being in the form of
 4
      emotional distress.
 5
 6                                 VII.       Economic and Actual Damages
 7           54.     Plaintiffs sustained the following economic and actual damages as a result of the
 8
      actions and/or omissions of Defendant described herein above:
 9
                     a..     Out of pocket expenses, including but not limited to the money paid towards
10
                             the note securing the vehicle;
11
                     b.      Loss of use;
12
13                   c.      Loss of the “benefit of the bargain”;

14                   d.      Diminished or reduced market value; and
15
                     e.      Costs of repairs.
16
                                      VIII.    Damages for Civil Penalties
17
18           55.     Plaintiffs would further show false, misleading and deceptive acts, practices and/or

19    omissions described herein above were committed willful pursuant to the Song-Beverly Consumer
20
      Warranty Act and as such, Defendant and each of them are liable to Plaintiffs for civil penalties in
21
      an amount as set forth below.
22
23           56.     As a result of such acts, practices and /or omissions, Plaintiffs sustained a high degree

24    of mental pain and distress of such nature, duration and severity that would permit the recovery of
25
      damages for mental anguish pursuant to Song-Beverly Consumer Warranty Act, and for which
26
      Plaintiffs hereby sues for a civil penalty in an amount of two times Plaintiffs's actual damages.
27
28

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 1                                           IX.    Request for Rescission

 2            57.     Plaintiffs seeks a damages remedy as an alternative to the remedy of rescission which
 3
      is requested in the following paragraph.
 4
              58.     Plaintiffs revokes his acceptance of the JAYCO EAGLE for the reason that its defects
 5
 6    substantially impair its value to Plaintiffs and acceptance was based on Plaintiffs's reasonable
 7    reliance on the false representations and warranties of Defendant that the defects in the JAYCO
 8
      EAGLE would be repaired. Accordingly, Plaintiffs seeks a cancellation of the automobile purchase
 9
10    transaction and an order of the court restoring to him the money obtained by Defendant as a result

11    of the false representations and breaches of warranty set forth above. Plaintiffs also seeks
12    cancellation of the debt and now offers to return the automobile to Defendant. In this connection,
13
      Plaintiffs will provide Defendant a credit for the impaired use of the JAYCO EAGLE, for the time
14
15    that Plaintiffs were able to use it.

16                                           X.    Attorney Fees and Costs
17            59.     Plaintiffs are entitled to recover as part of the judgment, costs and expenses of the suit
18
      including attorney's fees based on actual time expended. As a proximate result of the misconduct
19
20    of Defendant as alleged herein, and in an effort to protect their rights and to enforce the terms of the

21    agreement as more particularly set forth above, it has become necessary for Plaintiffs to employ the
22
      legal services of Richard C. Dalton. Plaintiffs have incurred and continue to incur legal fees, costs
23
      and expenses in connection therewith.
24
25                                                    XI.    Prayer

26            60.     For these reasons, Plaintiffs pray for judgment against the Defendant for the
27
      following:
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 1               a.     For general, special and actual damages according to proof at trial;

 2               b.     Rescinding the sale of the 2018 JAYCO EAGLE 317 RLOK VIN
 3                      1UJCJ0BT2J1WK0328 and returning to Plaintiffs the purchase price
                        including all collateral costs at the time of the sale, any and all finance
 4                      charges, insurance premiums, maintenance costs, repair costs, and damages;
 5
                 c.     For incidental and consequential damages according to proof at trial;
 6
                 d.     Out of pocket damages for expenditures related to any cost of repairs,
 7                      deductibles; and towing charges.
 8
                 e.     Any diminution in value of the JAYCO EAGLE attributable to the defects;
 9
                 f.     Past and future economic losses;
10
11               g.     Prejudgment and post-judgment interest;
12               h.     Damages for loss of use of vehicle;
13
                 i.     Civil Penalties and/or Punitive damages;
14
                 j.     Damages for mental anguish;
15
16               k.     Attorney fees;
17               l.     Costs of suit, expert fees and litigation expenses; and
18
                 m      All other relief this Honorable Court deems appropriate.
19
20                                XIII.    Demand for Jury Trial

21         61.   Plaintiffs hereby demand trial by jury to the extent authorized by law.
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23
24
25
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27
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 1                                       RESPECTFULLY SUBMITTED:

 2
                                         BY: /s/ Richard C. Dalton
 3                                       Richard C. Dalton
 4                                       Texas Bar No. 24033539
                                         Louisiana Bar No. 23017
 5                                       California Bar No. 268598
                                         1343 West Causeway Approach
 6
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 8
 9                                       ATTORNEY FOR PLAINTIFFS

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